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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


CAPITAL AREA IMMIGRANTS’ RIGHTS
COALITION, et al.,

                           Plaintiffs,

        v.
                                                         Civil Action No. _____
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                           Defendants.


    [PROPOSED] ORDER GRANTING MOTION FOR EXPEDITED HEARING ON
      PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER AND
                       PRELIMINARY INJUNCTION

         Pursuant to Local Civil Rules 65.1 and 78.1, and having reviewed Plaintiffs’ Motion for

Expedited Hearing on Plaintiffs’ Motion for Temporary Restraining Order and Preliminary

Injunction (the “Motion,”) any response thereto, and the record in this case, the Court hereby

ORDERS that the Motion is GRANTED. The Court sets Plaintiffs’ Motion for Temporary

Restraining Order and Preliminary Injunction (“TRO Motion”) for a hearing at _____ on

__________, 2019, and sets a briefing schedule as follows: Defendants’ opposition to the TRO

Motion is due on __________, 2019, and Plaintiffs’ reply is due on __________, 2019.

         IT IS SO ORDERED.



Date:                                                      _____________________________
                                                           United States District Judge
